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    LATHAM & WATKINS LLP                                   BUTLER SNOW LLP
    Andrew Clubok (pro hac vice)                           Martin Sosland (TX Bar No. 18855645)
    Sarah Tomkowiak (pro hac vice)                         Candice Carson (TX Bar No. 24074006)
    555 Eleventh Street, NW, Suite 1000                    2911 Turtle Creek Blvd., Suite 1400
    Washington, District of Columbia 20004                 Dallas, Texas 75219
    Telephone: (202) 637-2200                              Telephone: (469) 680-5502

    Jeffrey E. Bjork (pro hac vice)
    Kimberly A. Posin (pro hac vice)
    355 South Grand Avenue, Suite 100
    Los Angeles, CA 90071
    Telephone: (213) 485-1234

    Kathryn George (pro hac vice)
    330 North Wabash Avenue, Suite 2800
    Chicago, IL 60611
    Telephone: (312) 876-7700

    Counsel for UBS Securities LLC and UBS
    AG London Branch

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

------------------------------------------------------------
In re                                                        §       Chapter 11
                                                             §
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P., §                                 Case No. 19-34054-sgj11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                §       Adversary Proceeding
LONDON BRANCH,                                               §
                                                             §       No. 21-03020
                        Plaintiffs,                          §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------


1
         The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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       UBS’S MOTION FOR EXPEDITED HEARING ON FOREIGN NON-PARTY
       SENTINEL REINSURANCE, LTD.’S MOTION FOR PROTECTIVE ORDER

        UBS Securities LLC and UBS AG London Branch (together, “UBS”), plaintiffs in the

above-captioned adversary proceeding (the “Adversary Proceeding”), by and through their

undersigned counsel, respectfully submit this motion (the “Motion to Expedite”) requesting an

order, substantially in the form of Exhibit A, setting an expedited hearing on Foreign Non-Party

Sentinel Reinsurance, Ltd.’s Motion for Protective Order [Adv. Dkt. No. 106] (the “Sentinel

Motion” filed by “Sentinel”) as soon as counsel may be heard.2

                                    JURISDICTION AND VENUE

        1.       This Court has jurisdiction to consider this Motion to Expedite under 28 U.S.C.

§§ 157 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b).

Venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         RELIEF REQUESTED

        2.       By this Motion to Expedite, UBS respectfully requests entry of an order setting a

hearing on the Sentinel Motion as soon as counsel may be heard before the Court. Counsel for

UBS can make themselves available at the Court’s earliest opportunity for hearing.

                                 BASIS FOR RELIEF REQUESTED

        3.       Rule 9006(c) of the Federal Rules of Bankruptcy Procedure provides that the Court

may in its discretion “for cause shown” reduce the notice period required before a hearing may be

set on the Sentinel Motion. Fed. R. Bankr. P. 9006(c). Additionally, pursuant to section 105(a)

of title 11 of the United States Code (the “Bankruptcy Code”), the Court “may issue any



2
        UBS opposes the Sentinel Motion, and UBS’s Opposition to Foreign Non-Party Sentinel Reinsurance, Ltd.’s
Motion for Protective Order and the Appendix of Exhibits to UBS’s Opposition to Foreign Non-Party Sentinel
Reinsurance, Ltd.’s Motion for Protective Order, which includes the Declaration of Sarah Tomkowiak (the
“Tomkowiak Declaration”), are being filed concurrently with this Motion to Expedite.
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order . . . that is necessary or appropriate to carry out the provisions” of the Bankruptcy Code. 11

U.S.C. § 105(a).

       4.      UBS initiated this Adversary Proceeding against Defendant Highland Capital

Management, L.P. (the “Debtor,” and together with UBS, the “Adversary Parties”) on March 31,

2021. (See Compl. [Adv. Dkt. No. 3].) The fraudulent conduct underlying this Adversary

Proceeding was discovered by the post-petition Debtor only earlier this year (after Sentinel and

others actively hid the existence of Sentinel and the fraudulent conduct for years), and the Debtor’s

investigation remains ongoing. (See Answer ¶¶ 4, 36 [Adv. Dkt. No. 84].) This Adversary

Proceeding necessarily involves discovery requests, including third-party discovery requests (such

as the document subpoena issued to Beecher Carlson Insurance Services LLC (“Beecher”)) to

obtain information and documents required to understand the facts and scope of the fraudulent

conduct. Only by understanding the full scope and nature of the fraudulent conduct can UBS

present the facts necessary for the permanent injunction to ensure no further fraudulent transfers

are made by or at the Debtor’s direction.

       5.      Since issuing its discovery requests, however, UBS has faced discovery roadblock

after roadblock from the subpoenaed non-parties who have actively engaged in a strategy of

obstruction and delay to prevent UBS from uncovering the full scope of the fraud. These actions

have forced UBS to move for Orders both (i) authorizing alternative service of subpoenas upon

Mr. James Dondero [Adv. Dkt. No. 28] and (ii) compelling discovery from Messrs. Ellington,

Leventon, DiOrio, and Sevilla and Ms. Lucas (the “Former Legal Team”) [Adv. Dkt. No. 74]. Mr.

Dondero and the Former Legal Team not only opposed those motions but also filed their own

respective motions resisting UBS’s discovery [Adv. Dkt. Nos. 23, 70]. Sentinel’s Motion and its
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unilateral, ex parte request to set the hearing on this motion in late October are just the most recent

example of these tactics.3

        6.       Sentinel was one of the key players to the fraudulent transfers and now seeks to

avoid discovery into the very acts it facilitated and conducted (as explained more fully in UBS’s

Opposition to Sentinel’s Motion). Through the Sentinel Motion, Sentinel asks the Court to prevent

Beecher from producing documents in Beecher’s possession in response to UBS’s subpoena to

Beecher until Sentinel first reviews the documents and decides what it will allow Beecher to

produce and what it wants withheld. (See Sentinel Mot.) Sentinel further seeks to delay Beecher’s

production to UBS until “not later than November 1, 2021.” (Id. ¶ 35.) Critically, Beecher has

not joined in Sentinel’s Motion and stands ready now to begin its production of documents.

(Tomkowiak Decl., Ex. 8.) Thus, every day of delay in resolving Sentinel’s (meritless) Motion is

another day in which Sentinel can prevent UBS and the Court from discovering the facts and

potentially engage in further illicit conduct. Indeed, but for Sentinel’s Motion, UBS would by now

have many of the documents sought under the lawful subpoena issued to Beecher.

        7.       The relief sought in this Motion to Expedite is necessary for at least three

independent reasons.

        8.       First, trial in the Adversary Proceeding is currently scheduled for the week of

October 18, 2021,4 yet Sentinel seeks to prevent Beecher’s production until no later than

November 1, 2021—two weeks after the trial date. Such a request is designed to prevent UBS

from obtaining necessary discovery prior to the trial date and is thus highly prejudicial to UBS and




3
        Sentinel is owned by James Dondero and Scott Ellington.
4
        Because of the ongoing non-party discovery delays, UBS expects it will need to seek an extension of the
remaining deadlines in the Adversary Proceeding, including the week of trial.
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its ability to present a complete record of the fraud justifying the permanent injunction. Sentinel

should not be rewarded for attempting to tie UBS’s hands in this manner.

       9.      Second, Sentinel unilaterally and against UBS’s request set a hearing on the

Sentinel Motion for October 27, 2021 [Adv. Dkt. No. 107]. By setting a hearing date a mere four

days before its requested extension, and weeks after the trial in this matter, Sentinel has essentially

gone around the Court to grant itself the extension it seeks, creating further prejudice to UBS if

allowed to stand. Worse still, UBS informed Sentinel on September 8 that it objected to Sentinel’s

ex parte communications with the Court to set a schedule without UBS’s consent and that UBS

would be moving for expedited hearing. (Tomkowiak Decl., Ex. 9.) Despite this communication,

and knowing that UBS objected to the date, Sentinel proceeded unilaterally and without informing

UBS in setting the October 27 hearing and issuing notice of the same. UBS maintains its objection

to this date as it delays resolution of Sentinel’s Motion for nearly two months and until after the

scheduled trial date, all while Beecher stands ready now to produce documents.

       10.     Indeed, the Sentinel Motion presents a real concern that Sentinel (or at least,

Sentinel’s owners) is continuing the fraud: while seeking here to delay and withhold relevant

information from UBS, Sentinel simultaneously is demanding that the Debtor confirm that certain

of the fraudulently transferred assets at the heart of this Adversary Proceeding are properly owned

by Sentinel, or if not, provide Sentinel with instructions on how to complete such transfers into

Sentinel’s ownership.      Further, Sentinel has asked the Debtor when it will receive an

approximately $32 million redemption interest in Highland Multi Strategy Credit Fund, L.P.,

another Debtor-managed fund—and one that is explicitly referenced in the Order Granting

Plaintiff’s Motion for a Temporary Restraining Order [Adv. Dkt. No. 21] (the “TRO”). Thus, on

the one hand, Sentinel seeks the benefit of delay on its baseless Motion to prevent the discovery
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of anything it unilaterally deems to be “confidential information” while, on the other hand, it

demands the Debtor transfer assets to Sentinel in violation of the TRO publicly entered in this

case. The time has come to put an immediate stop to these games so that both the Court and UBS

can learn the full extent of the fraud, and the Court can permanently enjoin it from continuing.

       11.     Finally, while UBS will be seriously prejudiced absent the relief requested in this

Motion to Expedite, no party will be prejudiced by expedited consideration of the Sentinel Motion.

Indeed, Beecher—the subpoenaed party—had already agreed to begin producing responsive

documents in its possession when Sentinel filed its Motion. Likewise, Sentinel faces no prejudice

from expedited consideration as the party bringing the Motion, meaning that notice of the issues

does not raise any burden or concern.

                                              NOTICE

       12.     Notice of this Motion to Expedite will be provided to all parties requesting notice

in this Adversary Proceeding, including counsel to Sentinel and the Debtor. Notice of this Motion

to Expedite will also be provided by email to counsel for Beecher. UBS respectfully submits that

such notice is sufficient and that no further notice is required.

                                          CONCLUSION

       UBS respectfully requests immediate consideration of the Motion to Expedite by the Court

and entry of an order, substantially in the form of Exhibit A, setting an expedited hearing regarding

the Sentinel Motion, and granting UBS such other relief as it may be entitled in law or in equity.

In the alternative, and as set forth in UBS’s Opposition to the Motion, the Court should

immediately strike the Motion for its procedural defects and allow Beecher’s discovery to proceed.
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Dated: September 10, 2021                  Respectfully submitted,
                                           LATHAM & WATKINS LLP
                                           By /s/ Sarah Tomkowiak

                                           Andrew Clubok (pro hac vice)
                                           Sarah Tomkowiak (pro hac vice)
                                           555 Eleventh Street, NW, Suite 1000
                                           Washington, District of Columbia 20004
                                           Telephone: (202) 637-2200
                                           Email: andrew.clubok@lw.com
                                                  sarah.tomkowiak@lw.com

                                           Jeffrey E. Bjork (pro hac vice)
                                           Kimberly A. Posin (pro hac vice)
                                           355 South Grand Avenue, Suite 100
                                           Los Angeles, CA 90071
                                           Telephone: (213) 485-1234
                                           Email: jeff.bjork@lw.com
                                                   kim.posin@lw.com

                                           Kathryn George (pro hac vice)
                                           330 North Wabash Avenue, Suite 2800
                                           Chicago, IL 60611
                                           Telephone: (312) 876-7700
                                           Email: kathryn.george@lw.com

                                           BUTLER SNOW LLP
                                           Martin Sosland (TX Bar No. 18855645)
                                           Candice M. Carson (TX Bar No. 24074006)
                                           2911 Turtle Creek Blvd., Suite 1400
                                           Dallas, Texas 75219
                                           Telephone: (469) 680-5502
                                           E-mail: martin.sosland@butlersnow.com
                                                    candice.carson@butlersnow.com

                                           Counsel for UBS Securities LLC and UBS
                                           AG London Branch
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                              CERTIFICATE OF CONFERENCE

       The undersigned hereby certifies that on September 8, 2021, counsel for UBS conferred

with counsel to Sentinel, who indicated that Sentinel is opposed to the relief requested herein. On

September 10, 2021, counsel to UBS also conferred with counsel to the Debtor regarding the relief

requested in this Motion to Expedite. Counsel to the Debtor indicated the Debtor does not object

to the relief requested herein.

       Dated: September 10, 2021

                                                            /s/ Sarah Tomkowiak



                                  CERTIFICATE OF SERVICE

       I, Andrew Clubok, certify that UBS’s Motion for Expedited Hearing on Foreign Non-Party

Sentinel Reinsurance, Ltd.’s Motion for Protective Order was filed electronically through the

Court’s ECF system, which provides notice to all parties of interest. Additionally, a courtesy copy

of this Motion to Expedite will be provided to counsel for Beecher Carlson Insurance Services

LLC by email.


       Dated: September 10, 2021

                                                            /s/ Andrew Clubok
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                                   EXHIBIT A

                                 Proposed Order
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

------------------------------------------------------------
In re                                                        §       Chapter 11
                                                             §
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P., §                                 Case No. 19-34054-sgj11
                                                             §
                                    Debtor.                  §
----------------------------------------------------------- §
UBS SECURITIES LLC AND UBS AG                                §       Adversary Proceeding
LONDON BRANCH,                                               §
                                                             §       No. 21-03020
                        Plaintiffs,                          §
                                                             §
vs.                                                          §
                                                             §
HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                                             §
                                    Defendant.               §
-----------------------------------------------------------


1
         The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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                    ORDER GRANTING UBS’S MOTION
            FOR EXPEDITED HEARING ON FOREIGN NON-PARTY
      SENTINEL REINSURANCE, LTD.’S MOTION FOR PROTECTIVE ORDER

       Upon consideration of UBS’s Motion for Expedited Hearing on Foreign Non-Party

Sentinel Reinsurance, Ltd.’s Motion for Protective Order (the “Motion to Expedite”) filed by UBS

Securities LLC and UBS AG London Branch (together “UBS”); and it appearing that this Court

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and it appearing that this

proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b); and it appearing that venue of this

proceeding and the Motion to Expedite is proper in this District pursuant to 28 U.S.C. §§ 1408-

1409; and due, adequate, and sufficient notice of the Motion to Expedite having been given; and

having determined that the legal and factual bases set forth in the Motion to Expedite establish just

cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor it is hereby ORDERED:

       1.      The Motion to Expedite is GRANTED.

       2.      Once set, UBS shall file with the Court a notice of hearing setting the date and time

of the hearing on Foreign Non-Party Sentinel Reinsurance, Ltd.’s Motion for Protective Order.

                                      ### End of Order ###
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 Order prepared by:

  LATHAM & WATKINS LLP

  By /s/ Sarah Tomkowiak

  Andrew Clubok (pro hac vice)
  Sarah Tomkowiak (pro hac vice)
  555 Eleventh Street, NW, Suite 1000
  Washington, District of Columbia 20004
  Telephone: (202) 637-2200
  Email: andrew.clubok@lw.com
         sarah.tomkowiak@lw.com

  Jeffrey E. Bjork (pro hac vice)
  Kimberly A. Posin (pro hac vice)
  355 South Grand Avenue, Suite 100
  Los Angeles, CA 90071
  Telephone: (213) 485-1234
  Email: jeff.bjork@lw.com
          kim.posin@lw.com

  Kathryn George (pro hac vice)
  330 North Wabash Avenue, Suite 2800
  Chicago, IL 60611
  Telephone: (312) 876-7700
  Email: kathryn.george@lw.com

  BUTLER SNOW LLP
  Martin Sosland (TX Bar No. 18855645)
  Candice M. Carson (TX Bar No. 24074006)
  2911 Turtle Creek Blvd., Suite 1400
  Dallas, Texas 75219
  Telephone: (469) 680-5502
  E-mail: martin.sosland@butlersnow.com
          candice.carson@butlersnow.com

  Counsel for UBS Securities LLC and UBS
  AG London Branch
